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                                                   ITED STATE DI TRICT COURT

                                                          DISTRJCT OF OREGON

                                                            PORTLAND DIVI ION


UNITED TATES OF AMERICA                                                                           3:19-cr-00156-BR

              v.                                                                                  SUPERSEDI G INDICTME T

CAT ALIN BUNEA;                                                                                   18 .S.C.§1349;
                                                                                                  18 U.S.C. § 1029(a)(l);
                                                                                                  18 U.S.C. § 1029(a)(4);
                                                                                                  18 U.S.C. § 1344; and
                                                                                                  18 .S.C. § 1028A
              Defendants.                                                                         18 .s.c. § 2

                                                                                                     DER SEAL


                                              THE GRAND JURY CHARGES:

                                                      CO     T1
                                          (Con pirae to Commit Bank Fraud)
                                                   (18 .s.c. § 134~)

       l.     Beginning at an unknown time but no later than on or about July 31, 2018 and

continuing until at lea ton or about May 1 2019, within the District of regon and elsewhere,

defendants CATALI           BU EA,                                                                                      ,GEORGE

 ICOLAE ONlCE                       and                                                           along with others known and unknown to

the grand jury, did knowingly combine, conspire confederate, and agree with each other to

commit Bank Fraud to wit, they agreed to knowingly execute and attempt to execute a material

 uperseding Indictment                                                                                                                  Page 1
                                                                                                                                Revised April 2018
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scheme and artifice to defraud financial institution as to a material matter and to obtain money,

funds, credits assets, ecurities, or other property owned by or under the custod or control of

financial institution by means of false or fraudulent pretenses, repre entations, or promises in

 iolation of I 8 U.. C. § 1344.

                    MA     ER      D MEA SA D CHE IE TO DEFRA D

          2.     Defendant and their co-conspirators used the following manner and means to

carry out th conspiracy and scheme to defraud:

          3.     It was part of the conspiracy and scheme to defraud that defendants and their co-

con pirators arranged travel for various co-conspirators to enter the United tates by illegally

crossing the borders of the United tates orb submitting false applications for isas to enter the

  nited tate .

          4.     It was part of the conspiracy and schem to defraud that defendants and their co-

conspirators installed ' skimmer" devices into A TM/ red it Card reading machines in order to

 t al account information, including financial account numbers and PIN numbers from victims

who used the machines.

          5.     It wa part of the conspiracy and scheme to defraud that defendants and their co-

conspirators stole account information of customers at various financial institutions as defined in

in 18 U. . . § 20.

          6.     It was part of the con piracy and scheme to defraud that defendants and their co-

conspirators shared the stolen account information by sending it to each other to perpetuate the

fraud .




Super eding Indictment                                                                      Page2
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       7.       It was part of the con piracy and scheme to defraud that defendants and their co-

conspirators coded the stolen account information onto access de ices in order to make

counterfeit access devices.

       8.       It was part of the conspirac and scheme to defraud that defendants and their co-

con pirators used the counterfeit access de ices with the stolen account information to make

purcha es at arious retailers.

       9.       It was part of the conspiracy and scheme to defraud that defendants and their co-

conspirators used the counterfeit access devices with the stolen account information at AT      s to

withdraw cash from victims ' financial accounts at various financia l institutions as defined in 18

u. . . § 20.
       All in violation of 18 U.S.C. § 1349.


                               (Counterfeit cce De ice Fraud
                              (18 .S . . §§ 1029(a)(l), (c)(l)(a)(i))

       I.       All prior paragraphs of this uperseding lndictment are incorporated herein.

       2.       On or about March 18, 2019, in the Di strict of Oregon and elsewhere, defendants

 AT LI      B     F:A,                                                GEORGE NICOL E

                                          knowingly and with intent to defraud produced used

and trafficked in one or more counterfeit access device     and the production , trafficking and said

use affected interstate and foreign commerce in that it in ol ed transactions with businesses

involved in such commerce as well as transmissions and transportation o er state and

international borders;

       All in violation of 18 U .. C. §§ l029(a)(I ) (c)( l )(a)(i) and 2.


 uper eding Indictment                                                                        Page3
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                                              CO    TJ
                         (Illegal Posses ion of De ice-Making Equipment)
                                (18 U.S.C. §§ 1029(a)(4), (c)(l)(a)(ii))

        1.       All prior paragraphs of this uper eding Indictment are incorporated herein.

        2.       On or about April 9, 2019, in the District of Oregon and else\1/here, defendants

CAT LI       B     EA                                                 GEORGE      ICOLAE

0 I E CU, and                               knowingly and with intent to defraud, possessed de ice-

making equipment and said possession affected interstate and foreign commerce in that the

p ssession involved the use of busines es involved in such commerce as well as tran missions

and transportation over state and international borders:

      · All in violation of 18 U . .C.     1029(a)(4), (c) l)(a)(ii) and 2.

                                             COU TS4-8
                                           (BA K FRAUD)
                                         (18 u.s.c. §§ 1344, 2)

        1.       All prior paragraphs of this Superseding Indictment are incorporated herein.

       2.        At all times rele ant to this Superseding Indictment the financial institutions

listed in the counts set forth below were financial institutions as defined in 18 U. . . § 20.

       3.        On or about the date set forth below in a h      ount in the District f Oregon and

elsewhere, the defendants and others for purposes of executing and attempting to execute the

above-described material scheme and artifice to defraud financial institutions as to a material

matter and for obtaining money funds or prop rty owned or under control of the named

financial institutions by means of materially false or fraudulent preten es, repre entations, or

promises knowingly used stolen account information to steal money from victims' accounts held

at financial institutions as set forth below:


 upcr eding Indictment                                                                           Page4
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                                         -- -- --
     ounl        Defendanl( s)      Transaction Financial In titulion Account             Type of
                                    Date          Accessed                                Transaction
 4               CATALIN            3/18/2019     Financial Account Number                ATM
                 BU EA                            Belonging to AD LT VI TIM I
                                                   IQ redit nion)
 5


 6
                 ..
                 ...
                                    3/20/2019


                                    3/20/2019      Financial Account umber
                                                   Belonging to AD LT VICTIM 3
                                                                                          ATM


                                                                                          ATM

                                                   (IQ Credit nion)
 7               GEORG E            3/ 18/2019     financial Account Belonging to         Purchase at
                  ICOLAE                           ADULT VI TIM 4 (Great NW               Best Buy in
                 0 ICESCU                            redit Union)                         Portland
                                                                                          OR
 8                                  3/20/2019      Financial Account Belonging to         ATh1
                                                   AD LT VI ~TIM 5 (Great w
                                                   Credit Union)

AJI in violation of 18 U.S.C. §§ 1344 and 2.




            I.         II prior paragraphs of this uper eding Indictment are incorporated herein.

            2.       On or about the dates set forth below in each ount, in the District of Oregon and

elsewhere, the defendants and others, known and unknown to the           rand Jury did unlawfully,

knowingly, and intentionally transfer, possess, and use, without lawful authority, a means of

identifi ation of another, knowing that the means of identification belonged to a real person,

during and in relati on to felony violation of pro isions contained in hapters 47 and 63 of Title

18, to wit: Access Device ·raud Bank Fraud and Conspiracy to ommit Bank Fraud, in




Super cding Indictment                                                                          Page 5
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     ount     Defendant(s)        Transaction       Means of           Felon Violation
                                  Date              Identifications
 9            CATALIN             3/1 8/2019        Financial          18             1349 (Count 1);
              B EA                                  Account 1umber     18             1029(a){ 1) {Count 2);
                                                    Belon ing to       18             I 029(a)(4) (Count 3);
                                                    AD LT              18             1344 (Count 4)
                                                      I Tl I (IQ

 10                                                                  18 . . . § 1349 (Count 1);
                                                    Ac unt umber 18 U.S .C. § 1029(a)( 1) (Count 2)·
                                                    Belonging to     18 U .. C. § I 029(a)(4) (Count 3);
                                                    AD LT            18 U .. C. § I 344 (Count 5)
                                                      I T IM 2 (JQ
                                                     redit Uni on)
 11                               3/20/2019         Financial
                                                                 - --t-------            -------;
                                                                     18 U .. C . § 1349 (Count 1)·
                                                    Account Number I 8 U.          I 029 a)( 1)(Count 2)·
                                                    Belonging to     18 U.. C. 1029(a) 4){CounL 3);
                                                    AD LT            I 8 . . . 1344 (Count 6)
                                                      ICTIM 3 (IQ

 12          GEORGE               3/ I 8/20 I 9     Financial          18
             NICOLAE                                Account umber      18
             ONICE CU                               Belon ing to       18
                                                    AD LT              18
                                                    V I Tl 4 (Best
                                                    Bu - Portland)
 13                               3/20/2019         Financial                . .§     1349 (Count I);
                                                    Account umber            . .§     1029(a) 1)(Count 2);
                                                    Belonging to             .C. §    1029(a)(4) (Co unt 3);
                                                    AD LT                    . ,. §   1344 (Count 8)
                                                    V I T IM 5 (IQ
                                                    Credi t Union

All in violation of 18       .. C .    1028A and 2.

                                      FORFEITURE ALLEGATIO

            Upon conv iction of the offense alleged in Count I through 8 of thi Indictment




 uperscding Indictment                                                                                Page 6
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1029(c)(l)(C) a appli able for Counts 2 and 3. an propert constituting, and deriv d from,

proceeds defendants obtained directly and indir ctly, a the result of such iolation.

                                                                ETS

        If any of the abo c-dcs ribed forfeitablc pr p rty listed in Count I to 8 of this

 uperseding Indictment       a re ult of an act or omi sion of the defendant :

       (a) cannot be 1 cat d upon the exerci e of due diligence·

       (b) has been transferred or sold to, or deposited         ith, a third party:

       (c) has been placed beyond the jurisdiction of the court;

       (d) has been sub t ntiall diminished in         lue: or

       (e) has been commingled with other propcrt which cannot be di ided                  ithout difficulty;

it is the intent of the United tates, pursuant to 21      . .     853(p) as incorporated by 18 U.S.C.

 982(b), to seek forfeiture of an other property of aid defendants up to the value of the

forfeitable property described in the e forfeit ure allegation .

Dated: Jul 23 2019                                         TR         BILL.




                                                                                 ~1 • • • .,

Pre cntcd by:




                                          54




 up r ding Indictment                                                                                Page 7
